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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Roanoke Division
IN RE:

JAMES CRAIG BRINKLEY                                Case No. 19-70234
aka CRAIG BRINKLEY                                  (Chapter: 7)
aka J. CRAIG BRINKLEY
aka JAMES C. BRINKLEY

             Debtor

WELLS FARGO BANK, N.A., D/B/A
WELLS FARGO AUTO

             Movant
v.

JAMES CRAIG BRINKLEY
aka CRAIG BRINKLEY
aka J. CRAIG BRINKLEY
aka JAMES C. BRINKLEY
           (Debtor)

GEORGE I VOGEL
PO BOX 18188
ROANOKE, VA 24014
         (Trustee)
          Respondents



     MOTION FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C.
     § 362(d)(1) AND FOR ENTRY OF ORDER WAIVING THE PROVISION OF FED. R.
                                BANKR. P. 4001(a)(3)

         NOW COMES Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto, a secured creditor in

the above-captioned bankruptcy case, by its counsel, Orlans PC, as and for a motion pursuant to

11 U.S.C. § 362(d)(1) and Fed. R. Bankr. P. 4001(a)(3), seeking an Order granting relief from

the Automatic Stay in order to obtain possession and dispose of its collateral, namely one 2014
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GMC Sierra 1500 and states the following as grounds therefore:

1.      This Court has jurisdiction over this matter under 28 U.S.C. §§ 1334(b) and § 157(a) and

        11 U.S.C. § 362(d). Upon information and belief, this matter is a core proceeding

        pursuant to 28 U.S.C. § 157(b)(2)(G).

2.      On February 22, 2019, the Debtor, above-named, filed a voluntary petition under Chapter

        7 of the United States Bankruptcy Code.

3.      Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto (the “Creditor”) is a secured creditor

        and the holder of a duly perfected security interest in one (1) 2014 GMC Sierra 1500 VIN

        No. 3GTU2WEJ0EG451996 (the "Vehicle") pursuant to a Retail Installment Sale

        Contract Simple Finance Charge (the “Contract”), a retail installment contract between

        the Debtor, Kristy Brinkley, and Cole Chevrolet Cadillac, Inc. (the “Seller”), entered into

        on May 7, 2016, whereby the Debtor agreed to pay a total of $50,012.46 in 72 monthly

        payments of $854.87 each in connection with the purchase of the Vehicle. True and

        correct redacted versions of the Contract and Proof of Lien Perfection are attached as

        Exhibits “A” and “B”, respectively.

4.      Pursuant to 11 U.S.C. § 362(d)(1), upon request of a party in interest, the Court shall

        grant relief from the automatic stay for cause, including lack of adequate protection of an

        interest in property of such party in interest.

5.      As of March 4, 2019, the net total balance due on the obligation to Creditor was

        $34,340.62.

6.      As of March 4, 2019, the Debtor is in default of the payment obligations to the Creditor

        in the amount of $3,464.09.
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7.      The foregoing does not represent any amount which may be due for costs and attorneys’

        fees as may be allowed by the Court.

8.      That Creditor has ascertained that the clean retail value of the Vehicle is $32,175.00

        based on N.A.D.A. Used Car Guide's estimated value of the Vehicle. A copy of the

        N.A.D.A. Guide for valuation of the Vehicle is attached hereto as Exhibit “C”.

9.      Upon information and belief, there is no other encumbrance affecting the Vehicle, and

        there is no other collateral securing the indebtedness.

10.      Pursuant to the Debtor’s Statement of Intention, the Debtor intends to surrender the

        Vehicle.

11.     It is respectfully asserted that the Creditor’s interest in the Vehicle will not be adequately

        protected if the automatic stay is allowed to remain in effect.

12.     Accordingly, sufficient cause exists to grant the Creditor relief from the automatic stay.

13.     The Creditor is also entitled to relief from the automatic stay for cause pursuant to 11

        U.S.C. §362(d)(2) because Debtor has no equity in the Vehicle and the Vehicle is not

        necessary for an effective reorganization.


        WHEREFORE, the Creditor, Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto,

respectfully requests that the Court issue an Order, pursuant to 11 U.S.C. §362(d),either:

        a. Granting the Creditor relief from the automatic stay in order to obtain possession and

            dispose of the Vehicle, the entry of which order shall be effective immediately upon

            entry, notwithstanding the provisions of FRBP 4001(a)(3); and

        b. For such other and further relief as the Court may deem just and proper.
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Date: _3/21/2019___

                                                Respectfully submitted,

                                                _/s/ Heather D. McGivern_________
                                                Kathryn Smits, Bar #77337
                                                Heather D. McGivern, Bar #91767
                                                Theseus D. Schulze, Bar #93756
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                                  CERTIFICATE OF SERVICE

       The undersigned states that on March 21, 2019, copies of Motion for Relief were filed
with the Clerk of the Court using the ECF system, which will send notification of such filing to
the following:

George I. Vogel
P.O. Box 18188
Roanoke, VA 24014
GVogel@vogelandcromwell.com
Bankruptcy Trustee

Shane W. Hiatt
Scot S. Farthing, Attorney at Law, PC
PO Box 1315
Wytheville, VA 24382
shiatt@sfarthinglaw.com
Debtor’s Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
Motion for Relief to the following non-ECF participants:

James Craig Brinkley
P. O. Box 6412
Christiansburg, VA 24068
Debtor


                                                      Respectfully submitted,

                                                      _/s/ Heather D. McGivern______
                                                      Kathryn Smits, Esquire
                                                      Heather D. McGivern, Esquire
                                                      Theseus D. Schulze, Esquire
